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 9

10                       UNITED STATES BANKRUPTCY COURT
11                                 DISTRICT OF NEVADA
12   In re:                                           BK-22-11249-abl
                                                      Chapter 11 (Subchapter V)
13
     NUVEDA, LLC, a Nevada limited
14   liability company,
                                                      Hearing Date: August 23, 2022
15                                     Debtor(s).     Hearing Time: 2:00 PM

16
          LIMITED JOINDER TO CREDITOR JENNIFER M. GOLDSTEIN’S
17              MOTION TO DISMISS BANKRUPTCY PETITION

18            The State of Nevada ex rel. Cannabis Compliance Board (“CCB”), by and
19 through its counsel, Attorney General Aaron D. Ford, Senior Deputy Attorney

20 General, Emily N. Bordelove, and Senior Deputy Attorney General, Ashley A.

21 Balducci hereby submits this Limited Joinder To Creditor Jennifer M. Goldstein’s

22 Motion To Dismiss Bankruptcy Petition (“underlying Motion”) and Request upon

23 dismissal for an Order pursuant to 11 U.S.C. § 362(j) confirming that the automatic

24 stay has been terminated. This Limited Joinder is filed pursuant to 11 U.S.C. §

25 105(a).

26            ///
27            ///
28            ///

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 1                     MEMORANDUM OF POINTS AND AUTHORITIES

 2                                         INTRODUCTION

 3            The CCB agrees that dismissal is warranted under 11 U.S.C. § 1112(b) and

 4 hereby adopts and incorporates those legal arguments relating to Debtor NuVeda

 5 LLC’s (“Debtor” or “NuVeda”) ownership interest in cannabis establishment

 6 subsidiaries, Clark NMSD LLC (“Clark NMSD”) and Nye Natural Medicinal

 7 Solutions LLC (“Nye Natural”), as set forth in the underlying Motion, adding that

 8 Debtor’s ownership interest was not formally transferred under the CCB.

 9             Alternatively, the CCB files, contemporaneous with this Limited Joinder, a

10 separate Motion for declaratory relief in the form of an Order from this Court that

11 this bankruptcy does not stay the CCB’s ability to execute its regulatory and

12 enforcement powers over Clark NMSD and Nye Naturals, given 11 USC § 362(b)

13 provides for an exception to such stay for the exercise of regulatory powers. See

14 Motion for Declaratory Relief filed contemporaneously with this Limited Joinder.

15                               ADDITIONAL RELEVANT FACTS

16            A.     OWNERSHIP AND INJUNCTIONS

17            As noted in the underlying Motion, the state court in Case No. A-17-755479-B
18 enjoined Debtor “from selling, transferring, or otherwise disposing of any assets

19 in their possession, custody, and/or control, including any Nevada cannabis

20 license and cash received (except as needed for normal business operations) from the

21 lawful sale of cannabis through their Nevada retail dispensaries until this Court

22 orders otherwise.” (emphasis added). See underlying Motion at ¶ 24 at 13, see also

23 Exhibit 16 to underlying Motion, Dkt. 45 in Case No. A-17-755479-B, 1 March 14,

24 2019, Injunction at 2.           This injunction prohibits Debtor from transferring its
25 ownership interests in Clark NMSD and Nye Naturals.

26            The state court initially put this prohibition in place in a Temporary
27
     1   While the pleadings list the case number as A-17-755479-C, the Eighth Judicial District Court
28 provides the case number as A-17-755479-B. See Exhibit C, attached to Decl. of Emily N. Bordelove.


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 1 Restraining Order (“TRO”) filed on February 5, 2019. See Exhibit A., Dkt. 21 in Case

 2 No. A-17-755479-B, February 5, 2019, Notice of Entry of Temporary Restraining

 3 Order at 4, attached to Decl. of Emily N. Bordelove.

 4         Furthermore, the state court in Case No. A-17-755479-B has not lifted nor
 5 modified the above TRO or injunction to allow Debtor to transfer or otherwise dispose

 6 of its assets or its Nevada cannabis licenses, including ownership in Clark NMSD and

 7 Nye Naturals and their associated Nevada cannabis licenses. See Exhibit B., Dkt.

 8 91 in Case No. A-17-755479-B, April 16, 2019, Notice of Entry of Amended Injunction

 9 at 6, attached to Decl. of Emily N. Bordelove.

10         As noted in the underlying Motion, on or about June 12, 2019, about four
11 months after the above TRO was entered, Debtor claims it reorganized and

12 transferred its ownership interest in Clark NMSD and Nye Naturals to a different

13 NuVeda LLC, a Delaware limited liability company (“NuVeda DE”). See underlying

14 Motion ¶ 5 at 8, see also Exhibit 8 to underlying Motion, Dkt. 190 in Case No. A-15-

15 728510-C, Opposition to Motion to Appoint Receiver at 7.

16         As outlined in the MIPA attached to Exhibit 8 to the underlying Motion, the
17 natural persons with ownership interests in Debtor, Joseph Kennedy, Pejman Bady,

18 and Pouyha Mohajer also own NuVeda DE. See id. at 18-19.

19         There has been no allegation nor assertion that Debtor obtained regulatory
20 approval from any Nevada state agency, including the CCB, for the transfer of

21 Debtor’s interests in Clark NMSD and Nye Naturals to NuVeda DE. Under Nevada

22 law, a transfer of ownership interest in a cannabis establishment is not effective until

23 the state agency is notified of the transfer and the state agency finds that each person

24 acquiring an ownership interest is individually qualified to be an owner of a cannabis

25 establishment. See Nev. Admin. Code § 453D.315(5) (repealed 2020); Nevada

26 Cannabis Compliance Regulation (“NCCR”) 5.110(1).

27         As of the date of this Limited Joinder, the CCB’s records reflect Debtor, not
28 NuVeda DE, as the parent company that owns both Clark NMSD and Nye Naturals.


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 1        B.     PLAN OF REORGANIZATION

 2        Debtor filed its Plan of Reorganization (“Plan”) on July 11, 2022. See Dkt 89.

 3 In the Plan, Debtor states that it will be funded by a $500,000 loan from one or more

 4 of its equity security holders. See Dkt 89 at 2 & 4. According to Debtor’s Voluntary

 5 Petition for Non-Individuals Filing for Bankruptcy, Debtor’s Security holders are

 6 Joseph Kennedy, Pejman Bady, and Pouyha Mohajer. See Dkt. 1’s Exhibit 3 at 16.

 7                                 LEGAL ARGUMENT

 8 I.   DEBTOR OWNS THE SUBSIDIARIES THAT HOLD THE CANNABIS
        LICENSES BECAUSE NO STATE AGENCY APPROVED THE
 9      TRANSFER TO NUVEDA DE.

10        The underlying Motion argues that Debtor’s prior ownership of cannabis

11 facilities provides cause for dismissal under Section 1112(b) of the Bankruptcy Code.

12 See underlying Motion at 16-19. The CCB joins in this argument and additionally

13 provides that Debtor presently serves as the parent company for Clark NMSD and

14 Nye Naturals.

15        Ownership interest in a cannabis license cannot be transferred absent

16 notification and approval from the CCB. NRS 678B.380 provides in pertinent part

17 that “[e]xcept as otherwise provided by regulations adopted by the Board pursuant to

18 subsection 2, the following are nontransferable… [a] medical cannabis establishment

19 license [and] [a]n adult-use cannabis establishment license.” NRS 678B.380 (1)(d)-

20 (e). In 2019 when the alleged transfer occurred to the present, Nevada law has

21 expressly stated that a transfer of ownership interest in a cannabis establishment is

22 not effective until the state agency is notified of the transfer and the state agency

23 finds that each person acquiring an ownership interest is individually qualified to be

24 an owner of a cannabis establishment. See Nev. Admin. Code § 453D.315(5) (repealed

25 2020); NCCR 5.110(1).

26        As noted above, there has been no allegation nor assertion that Debtor notified

27 and obtained regulatory approval from the CCB or its predecessor for the transfer of

28 interest to NuVeda DE. Further, the CCB’s records currently reflect Debtor, not


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 1 NuVeda DE, as the parent company owning both Clark NMSD and Nye Naturals.

 2 Furthermore, given the state district court’s order in Case No. A-17-755479-B

 3 enjoining Debtor from transferring assets, including the Nevada cannabis licenses, it

 4 is an open question as to whether the CCB could approve a request to transfer

 5 Debtor’s ownership interest in Clark NMSD and Nye Naturals to NuVeda DE.

 6             Debtor may argue that even if it owns Clark NMSD and Nye Naturals “on

 7 paper,” practically, NuVeda DE and not Debtor, received cannabis related money

 8 from these entities that would implicate 11 USC § 1112(b). However, as noted above,

 9 Debtor will be financed from a $500,000 loan from one or more of its equity security

10 holders. These equity security holders, Joseph Kennedy, Pejman Bady, and Pouyha

11 Mohajer, also own NuVeda DE and receive cannabis related money from Clark

12 NMSD and Nye Naturals. As a result, the loan from Debtor’s equity security holders

13 to fund Debtor could originate from cannabis related money that would implicate 11

14 USC § 1112(b).

15            Thus, the CCB supplements the arguments in the underlying Motion that

16 dismissal is warranted under 11 USC § 1112(b) with the fact that Debtor currently

17 owns Clark NMSD and Nye Naturals.

18 II. ORDER CONFIRMING TERMINATION OF STAY DUE TO DISMISSAL

19            If this Court grants the underlying Motion, the CCB, as a real party in

20 interest 2, requests an Order from this Court confirming that the automatic stay has

21 been terminated.

22            11 USC § 362 (j) provides “[o]n request of a party in interest, the court shall
23 issue an order under subsection (c) confirming that the automatic stay has been

24 terminated.” 11 USC § 362(c)(2)(B) provides that “[e]xcept as provided in subsections

25 (d), (e), (f), and (h) of this section-- the stay of any other act under subsection (a) of

26 this section continues until the earliest of--the time the case is dismissed.”

27
     2   Please see the CCB’s Motion for Declaratory Relief, filed contemporaneously with this Limited
28 Joinder.


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1        Thus, if this Court grants the underlying Motion and dismisses Debtor’s

2 bankruptcy case, the CCB requests an Order from this Court, pursuant to 11 USC §

3 362 (j), confirming that the automatic stay has been terminated.

4                                   CONCLUSION

5        For the reasons stated, the CCB files this Limited Joinder To Creditor Jennifer

6 M. Goldstein’s Motion To Dismiss Bankruptcy Petition and requests, if this Court

7 grants said motion an Order Confirming Termination Of Stay Due To Dismissal of

8 the Bankruptcy case.

9         DATED this 18th of July, 2022.        AARON D. FORD
                                                Attorney General
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11                                        By:
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